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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

             CASE NO: 19-80030-CR-DIMITROULEAS/MATTHEWMAN

   UNITED STATES OF AMERICA,

   v.

   PHILLIP BRAUN,
   AARON SINGERMAN,
   JAMES BOCCUZZI, and
   BLACKSTONE LABS, LLC
   _____________________________/

        DEFENDANTS’ MOTION TO DISMISS WITH PREJUDICE FOR SPEEDY
                         TRIAL ACT VIOLATIONS

                                    INTRODUCTION

          In February of 2017, the United States Government seized more than $1
   million in nutritional supplement products from Blackstone Labs, LLC
   (Blackstone). After eighteen months and no indictment, Blackstone filed a
   Federal Rule of Criminal Procedure 41(g) petition for the return of perishable
   product approaching expiration for which the Government did not claim violated
   federal law on October 8, 2018. Rather than release the legitimate products, the
   Government prematurely filed the instant indictment on March 8, 2019, to gain
   a tactical advantage in the Rule 41(g) proceeding. The Government had not
   completed its investigation, nor was the Government ready to try its case.
          The premature indictment triggered a cascade of errors that cost the
   Defendants millions of dollars while denying them their statutory and
   constitutional right to a speedy trial and constitutional right to prepare an
   adequate defense. Defendants Philip Braun, Aaron Singerman, James Boccuzzi
   and Blackstone Labs, LLC seek dismissal of the indictment under the Speedy
   trial Act, because they were not tried within 70 days of the last co-Defendant’s
   arraignment, even after subtracting excludable time.
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                                    BACKGROUND

   I.    Procedural Background

         The Government’s investigation began as early as August 2015 with
   several undercover purchases from Blackstone’s website. The investigation
   climaxed with the execution of search and seizure warrants as well as the
   delivery of several target letters in early 2017. Incidentally, while the Defendants
   and their companies were raided and targeted for federal prosecution, their
   industry cohorts simultaneously received FDA warning letters advising them of
   the FDA’s position on the legality of these same substances.
         As explained above, after eighteen months and no indictment, Blackstone
   filed a Rule 41(g) petition for the return of perishable products for which the
   Government did not claim violated federal law. The Government opposed the
   petition, claiming its indictment would soon be filed. On March 8, 2019, the
   Government filed the instant indictment. By this point, the Government had
   investigated Blackstone for at least four years. Despite its lengthy investigation,
   the Government was not prepared to try its case, and much less prepared to
   meet its discovery obligations under Brady, Giglio, and the Southern District of
   Florida local rules. The Government filed the indictment to gain a tactical
   advantage in the Rule 41(g) proceeding.
         On April 16, 2019, the Government filed a motion to designate this case
   as complex under the Speedy Trial Act and to continue the original May trial date
   (DE94). The Government cited, in part, the voluminous discovery involved and
   stated that more discovery was forthcoming. However, the Government’s motion
   did not disclose the extent of its non-preparedness, nor          that it filed its
   indictment to defeat Blackstone’s Rule 41(g) petition. The Court denied the
   Government’s motion without prejudice to the motion being presented at the May
   3, 2019 status conference (DE98).
         The status of the Government’s production of discovery was discussed at
   the May 3, 2019 status conference, in calculating an appropriate time for

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   resetting the trial. The Court directly asked the Government why discovery was
   not ready the day it filed its historical indictment (DE169:11-12). The
   Government attributed the delay to the absence of a protective order,
   representing that most of the discovery would be produced within two weeks of
   the signing of the protective order (DE169:12-13). Again, the Government did not
   disclose that its indictment was prematurely filed to defeat Blackstone’s Rule
   41(g). Nor did it let on that it had no idea when it would complete its Brady,
   Giglio, and discovery productions. Based on the Government’s representations,
   the Court set the discovery production deadline for May 17, 2019, and
   concomitantly set the Defendants’ pretrial motion deadline for September 17,
   2019, and the trial date for January 6, 2020 (DE143).
          The Government immediately violated the Court’s discovery order with the
   production of additional documents starting on June 4, 2019. The Government’s
   July 17, 2019 Production, No. 12 of 7.7 GB (136,350 pages) of data, triggered a
   Defense motion for continuance, which was filed on July 29, 2019 (DE180).
   Although the Government opposed the motion, it conceded that 80% of the late
   pages produced had been in its possession since the grand jury investigation
   (DE186:5). Yet, the Government’s opposition offered no suitable justification for
   why it took 131 days to produce documents admittedly in its possession long
   before it filed its indictment. The Government took the position that the ends of
   justice did not warrant a continuance because the complexity of the case was
   addressed by the prior continuance that set the trial for January 2020
   (DE186:8).
          At the hearing, the Government finally admitted why it was not prepared
   to prosecute the case—it prematurely filed its indictment, in part, in response to
   Blackstone’s Rule 41(g) petition for return of uncontested product (DE191:32-
   34):
          THE COURT: Why aren't all of the documents available when
          you return the indictment? I mean, there's -- you decided when to
          go to the grand jury. You decided when to get the indictment. Why

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         are you getting an indictment when you're not ready to go to trial,
         you're not ready to give all of the documents to the defense?

         MR. READER: Without going into too much work product
         discussion, Your Honor, I think that there are various pressures that
         go into the timing of an indictment. In this case, as Your Honor
         knows from the pleadings, there's a parallel petition for return of
         property. And in the pleadings in that case the government said this
         motion for return of property, you know, should be dismissed for
         lack of jurisdiction because an indictment is coming soon. I think
         that was obviously some pressure on the government, as well as
         there is pressure that involves statute of limitations and other
         things.

         The Government further disclosed that there were “a few more
   documents,” including a “small group of documents involving the FDA” to be
   produced (DE191:36). The Government represented it should be “a very limited
   pool of documents.” (DE191:37). The Court directed the Government to produce
   them, less the documents be excluded from the Government’s case in chief
   (DE191:36).
         Regarding the amount of time needed to review the documents, Defense
   counsel estimated that using artificial intelligence (AI), it could take
   approximately fifteen weeks to review 2.1 million documents (DE191:15).
         At the August 12, 2019 hearing, the Court continued the trial four months
   until May 11, 2020 (DE190). It set the Defendants’ motion deadline for January
   17, 2020 (DE189; DE191:39). Thus, if the Government produced all remaining
   discovery within four weeks, the Defendants would have approximately
   seventeen weeks to conduct their review and file their pretrial pleadings, well
   within the fifteen weeks needed to conduct AI-assisted review.
         The Government produced much more than a very limited pool of
   documents. It set on a drip-drop of key documents that made AI-assisted
   discovery review impossible. The Government’s “very limited pool of documents”
   consisted of:




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       •   Multiple productions of additional FDA records, including a set of 1,427
           documents containing files created as early as July of 2013, supplemental
           chemist reports, and adverse reports;
       •   Multiple productions of additional DEA records, supplemental chemist
           reports, and chemist Memorandum of Interviews (MOIs).
       •   2,893 documents from cooperating co-Defendant Robert DiMaggio which
           the Government withheld until obtaining a plea agreement;
       •   18 documents from cooperating unindicted co-conspirator Leonard
           Shemtob which the Government withheld until obtaining a plea agreement
           in 2021;
       •   Emails from cooperating unindicted co-conspirator Justin Smith which
           the Government withheld until obtaining a plea agreement in 2021;
       •   A forensic image of Robert DiMaggio’s computer taken in 2017; 1
       •   A forensic image of Robert DiMaggio’s cell phone taken in 2017;
       •   Phone communications between Anthony Ventrella and Ashley Ventrella;
       •   Phone communications produced by Paul Jasinto, a chemist with Ventech
           labs;
       •   Robert DiMaggio’s plea agreement;
       •   File images from a search warrant of James Boccuzzi’s email account
           executed July 17, 2018;
       •   166 native files identified by the Defendants as unreadable;
       •   2 DVDs of native files “omitted” from the original productions;
       •   3 DVDs of native files with lower quality images;
       •   Videos of Phillip Braun created before the indictment was returned;
       •   Captures from Blackstone’s website and forum regarding military training;
       •   Online articles dating back to March 17, 2015;
       •   Records related to alleged “victims”;
       •   Two MOIs for James Boccuzzi dated February 16, 2017 and March 13,
           2019;
       •   Bank records; and
       •   “Potential” Brady/Giglio and Jencks materials.

           The documents were produced periodically in a drip-drop fashion. A
   timeline of the production dates is telling:
              -   September 13, 2019
              -   September 27, 2019



   1 “Mr. Reader: Again, as I said, the forensic drives, we have made the
   defendants’ own devices already available to them for inspection.” D.E. 169
   at 12 (emphasis added). Every Defendant except Mr. DiMaggio’s, for reasons
   never articulated.
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            -   November 13, 2019
            -   November 20, 2019
            -   November 26, 2019
            -   December 20, 2019
            -   January 8, 2020
            -   January 15, 2020
            -   January 24, 2020
            -   January 28, 2020
            -   January 29, 2020
            -   February 18, 2020
            -   March 27, 2020
            -   July 3, 2020
            -   December 9, 2020
            -   May 31, 2021

         Many of the documents contained Brady/Giglio information that was
   already in the Government’s possession when it filed its indictment. One
   egregious example was the Government’s January 24, 2020 production of DEA
   Drug & Chemical Evaluation Section, Diversion Control Division, letters opining
   that the key substances at issue in this case (dimethazine and methylstenbolone)
   were not named as controlled substances in the CSA and did not otherwise
   satisfy the definition of controlled substance under the CSA. The opinions were
   issued between 2017 and 2018 by members of the investigatory team who
   assisted the lead Assistant US Attorney in preparing the case.
         The production further included MOIs, proffer letters, plea agreements,
   and transcripts of grand jury, most of which was in existence before the
   Government filed its indictment. To make matters worse, key documents were
   produced after the January 17, 2020 pretrial motion deadline.
         The latest productions on May 31, 2021, and September 13, 2021 is
   another egregious example of the Government’s repeated discovery violations.
   They involved emails and factual proffers intentionally withheld by the
   Government. As will be more fully discussed, the documents’ production has
   triggered costly and timely electronic searches.


   II.   Defendants’ Discovery Review Process
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           The Defendants implemented Technology Assisted review 2.0 (TAR 2.0)2
   using continuous machine learning in a hybrid review model, considered one of
   the best practices in managing large ESI projects. 3 Hybrid review is the
   combination of TAR and a multistage, human managed review. “In common TAR
   2.0 workflows, the software is only trying to return relevant documents to the
   humans, and the humans review all the documents returned by the computer
   as predicted relevant.” See Bolch at 42 (“Predicted Relevant Set”). The




   2 As explained by Judge Peck: [A]t the time of Da Silva Moore v. Publicis Groupe
   and Rio Tinto PLC v. Vale S.A., it was necessary to train the TAR tool, which led
   to issues about how much transparency would exist to let the requesting party
   see all aspects of the seed set. In what eDiscovery vendors call TAR 2.0, using
   continuous active learning, the review of every document continues to train the
   system, alleviating that concern. The biggest continuing concern is whether
   disputes with opposing counsel and motion practice about the use of TAR will eat
   up the cost savings from using TAR. Id. (internal citations omitted)(discussing
   Judge Matthewman’s Core Component 9, TAR).

   3   As Judge Matthewman explained in his seminal 2019 paper on civil eDiscovery:
           TAR is similar conceptually to a fully human-based document
           review; the computer just takes the place of much of the human-
           review work force in conducting the document review. As a practical
           matter ... the computer is faster, more consistent, and more cost
           effective ... than human review alone.
           TAR can search extensive amounts of data better, faster, more
           accurately, and cheaper than humans. In effect, TAR involves skilled
           humans teaching a computer to rapidly, accurately, and reliably
           search and identify relevant documents within large sets of data. This
           means that lawyers or teams of lawyers do not have to sit in a room
           and risk losing their eyesight reviewing countless documents to
           determine those that are relevant for production and those that are
           irrelevant. In conjunction with TAR, the use of search terms to help
           identify relevant documents and the use of sampling of certain data
           sets are methods that must be understood and employed in the e-
           discovery process.

   Matthewman, Towards a New Paradigm for E-Discovery in Civil Litigation:
   A Judicial Perspective, 71 Fla. L. Rev. 1261 (2019) (emphasis added).
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   Defendants set up a three-stage managed review process, spending more than
   one million dollars to date to review the voluminous discovery provided by the
   Government.
         The human review team was given a 5-day training session on the software
   used to store and analyze the data (Relativity), the indictment, the FDCA, the
   Dietary Supplement Health and Education Act of 1994 (DHSEA), the Designer
   Anabolic Steroid Control Act of 2014 (DASCA), the Government’s theories, the
   Defense strategy (as it existed at the time) and the known background of the
   parties to this case. They reviewed all of the Government’s “hot documents”
   manually. A Quality Control (QC) manager was selected from within the review
   team, and the team was given initial assignments using a combination of search
   term protocols and selected custodian review.
         The Government provided a set of “hot documents” that Mr. Reader and
   Mr. Frank indicated formed the Government’s core case against the Defendants.
   These documents, along with some randomly sampled and other known
   documents formed the core of the Defendants initial seed set. As the review team
   manually coded additional documents, deduplicated the data set 4, and purged
   clearly nonresponsive or irrelevant documents, the predictive coding updated
   continuously. An initial set of search terms was constructed in an attempt to
   cull some of the data set to a more manageable number of documents.
         The review team made additional extrapolations from these early coding
   returns about additional potential search terms 5, and weekly QC checks for




   4 Lacking the necessary metadata for the bulk of the Government’s productions,
   most of the deduplication had to be done manually for documents the predictive
   coding system flagged as responsive.
   5 Whether search terms or “keywords” will yield the information sought is a

   complicated question involving the interplay, at least, of the sciences of computer
   technology, statistics and linguistics. See George L. Paul & Jason R.
   Baron, Information Inflation: Can the Legal System Adapt?', 13 RICH. J.L. &
   TECH. 10 (2007).
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   recall 6 and precision 7 were performed. Additionally, all internal Government
   documents were manually reviewed during this and later stages of the review
   process. Once a statistically significant set of documents was fed into the
   predictive coding algorithm, the review team then began TAR 2.0 review of the
   remaining documents.
                               SUMMARY OF ARGUMENT

         Under the Speedy Trial Act, the Defendants were required to be tried with
   70 days of the last arraignment. The trial continuances do not meet the
   requirements of the Speedy Trial Act for excludable time for two reasons. First,
   the Court did not specify its reasons for finding that the ends of justice were
   served and outweighed other interests, justifying a Speedy Trial continuance.
   Second, the record of the proceedings does not support an ends of justice finding.
                                       ARGUMENT

         A.     The Government Decision to Prematurely File the Indictment
                Caused a Cascade of Errors that Resulted in a Speedy Trial Act
                Violation

         The Speedy Trial Act required Defendants be brought to trial within 70
   days of April 22, 2019, the day the last co-Defendants (Phillip Braun and
   Blackstone) were arraigned. See D.E. 74; Speedy Trial Report D.E. 139. See 18
   U.S.C. § 3161(c)(1). If not brought to trial within 70 days, the indictment must
   be dismissed on motion from the Defendants. 18 U.S.C. § 3162(a)(2). The speedy
   trial clock’s tolling provision applies only to delays attributable to certain specific
   circumstances. 18 U.S.C. § 3161(h)(1)-(6). In the context of a motion to continue
   trial, a district court may grant the continuance and exclude “the resulting delay
   if the court, after considering certain factors, makes on-the-record findings that




   6 “Recall measures the percentage of documents found to be relevant.” Bolch at
   43.
   7 “Precision measures the percentage of documents that are truly relevant among

   all the documents the computer identified as potentially relevant.” Bolch at 42.
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   the ends of justice served by granting the continuance outweigh the public's and
   defendant's interests in a speedy trial.” Zedner v. United States, 547 U.S. 489,
   498-99, 126 S. Ct. 1976, 1984 (2006) (citing 18 U.S.C. § 3161(h)(7)).
          The Supreme Court has required that the district court “‘se[t] forth, in the
   record of the case, either orally or in writing, its reasons’ for finding that the ends
   of justice are served and they outweigh other interests.” Id. at 506. 18 U.S.C. §
   3161(h)(8)(A). 8 Those findings may be put on the record “by the time a district
   court rules on a defendant's motion to dismiss under § 3162(a)(2).” Id. at 507.
   United States v. Myrie, 479 F. App'x 898, 902 (11th Cir. 2012) (best practice is to
   state reasons when granting the continuance, but noting the reasons may be
   placed on the record at the time of ruling on a motion to dismiss for Speedy Trial
   Act violations).
          Dismissal under the Speedy Trial Act is required for two reasons. First, the
   Court did not specify its reasons for finding that the ends of justice were served
   and outweighed other interests, justifying a Speedy Trial continuance. Second,
   the record of the proceedings does not support an ends of justice finding.
          As amended, the Speedy Trial Act of 1974 sets forth the factors that the
   Court must consider in deciding to continue a criminal trial. Those factors
   include:
       1) Whether the failure to grant a continuance would be likely to result in a
          miscarriage of justice;
       2) Whether the case is so unusual or so complex that it is unreasonable to
          expect adequate preparation within the statutory time limits; and
       3) Whether failure to grant a continuance would deny the defendant
          reasonable time to obtain counsel, would deny the defendant or the
          Government continuity of counsel, or would deny counsel reasonable time
          to effectively prepare.




   8 A time exclusion that applies to one defendant in a multi-defendant case
   applies to all defendants. See, e.g., United States v. Stafford, 697 F.2d 1368, 1372
   (11th Cir. 1983); United States v. Darby, 744 F.2d 1508, 1517 (11th Cir. 1984);
   18 U.S.C. § 3161(h)(6).
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   See 18 U.S.C. §§ 3161(h)(7)(B) (2021). The Government's lack of diligent
   preparation is expressly precluded as an acceptable reason for continuing a trial
   under the Speedy Trial Act. Id. § 3161(h)(7)(C). Congress wisely understood that
   justice delayed is often justice denied. This case, involving TAR-based discovery,
   presents a textbook example. The Defendants have spent at least one million
   dollars to date, paying $30,000 per month storage fees plus staff to review and
   maintain the data in a case that the Government was not prepared to try. The
   Government’s decision to file a case before it was ready to proceed to trial caused
   significant financial harm.
         Importantly, the Speedy Trial Act does not prohibit continuances based on
   a prosecutor’s lack of diligent preparation, “it simply prohibits the district court
   from relying on § 3161(h)(7)(A) to exclude any delay caused by such ‘lack of
   diligent preparation’ from the speedy trial clock.” United States v. Robertson, 606
   F.3d 943, 960 (8th Cir. 2010). Defendants could accordingly seek a continuance
   on grounds of Government non-diligent preparation without waiving their right
   to a speedy trial. See United States v. Lee, 573 F.3d 155, 161 (3d Cir.
   2009) ("When a party fails to comply with [Federal Rule of Criminal Procedure
   16, which governs discovery and discovery violations], the district court is
   empowered to order that party to comply with the Rule, grant a continuance,
   exclude the evidence, or enter other just relief.").
         Applied here, the Speedy Trial clock has been running since April 22,
   2019, the day the last Defendants were arraigned. At the May 3, 2019 status
   conference, the Court continued the May trial to January 6, 2020, but did not
   make the required findings. Counsel for Defendant PJ Braun expressly asked if
   the Court would make “the appropriate finding for the speedy trial, ends of
   justice?,” to which the Court responded it would (DE169:74). The order, however,
   never disclosed the Court’s reasoning for finding the ends of justice would be
   satisfied by a continuance (DE145:1). Nor did the Court expressly state its
   reasons for finding the ends of justice met. As a consequence, the order does not
   properly exclude time after the May 6, 2019 order from the calculation and the
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   Speedy Trial clock reached zero on July 1, 2019. Notwithstanding, the record
   suggests the continuance was granted under Subsection 3161(h)(7)(b)(ii)’s
   complex litigation provision. The Government argued as much, in seeking a
   complex case designation and continuance under Subsection 3161(h)(7)(b)(ii)
   (DE94).
         The Court’s first continuance order (May 6, 2019) set an aggressive, but
   reasonable, time schedule for the review of the millions of documents using TAR.
   The Court’s examination of Defense counsel uncovered that such a review could
   reasonably be conducted in 15 weeks. And the Court’s timeline, which began
   with a May 17, 2019 Government discovery deadline gave the Defendants just
   enough time—15 weeks to upload the electronic data and run the necessary AI
   analytics, plus 2 weeks to draft their pretrial motions. The remaining time from
   September to the January trial date was just enough time to organize the
   documents for expert review and trial as well as to conduct second and third tier
   reviews of the data.
         The only obstacle to the Court’s carefully orchestrated time schedule for
   trying this complex case was the Government’s lack of diligent preparation. That
   lack was triggered by the Government’s decision to file a historical indictment
   before it completed its investigation and before it was ready to try its case. The
   Government implicitly admitted as much at the August 12, 2019, hearing, in
   disclosing that it filed its indictment in response to Blackstone’s Rule 41(g)
   motion for return of property—as opposed to it being ready to proceed to trial.
         Thus, even if the Court may make an after-the-fact determination that the
   first continuance was properly granted under the Speedy Trial Act’s complex
   litigation provision, the record supports no such after-the-fact finding as to the
   second continuance. The second continuance order and record of the August 12,
   2019 hearing erroneously contained no Speedy Trial Act factual findings.
   Furthermore, review of the record discloses but one potential justification—the
   Government’s lack of diligent preparation—which the Speedy Trial Act expressly
   rejects from the list of delays excludable from the Speedy Trial Act’s 70-day
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   mandate. Accordingly, at least sixty-seven (67) days 9 of delay triggered by this
   continuance is not excludable from the Defendants’ speedy trial computation.
   Added to the fourteen (14) days that ran from the last arraignment (April 22,
   2019) to the first continuance (May 6, 2019), the case is on day 81, meaning that
   zero days remain on the Speedy Trial Clock.
                      1.     The Government Failed to Diligently Prepare Its
                             Case

         Although      the    Speedy      Trial    Act    does     not     define    a
   "lack of diligent preparation," its meaning is plain and obvious. In statutory
   construction, "the plain meaning of the statute controls unless the language is
   ambiguous or leads to absurd results." United States v. McLymont, 45 F.3d 400,
   401 (11th Cir. 1995).
         The courts agree that an isolated or minor discovery violation by the
   government that prevents a case from going to trial may be an excludable delay.
   United States v. Shulick, 994 F.3d 123, 133 (3d Cir. 2021). United States v. Huff,
   246 F. Supp. 2d 721, 726 (W.D. Ky. 2003) (noting, in a case involving the
   government’s isolated failure to produce documents related to an expert, that
   even an inadvertent or negligent failure to comply with its discovery obligations
   was not tantamount to a "lack of diligent preparation" for the purposes of the
   Speedy Trial Act); United States v. Huff, 246 F. Supp. 2d 721, 726-27 (W.D. Ky.
   2003) ("[I]t would be unfair to classify the United States' omission as a lack of
   preparedness especially where the Court found that the United States acted
   negligently, not in bad faith or as part of a pattern of chronic discovery abuse.").
         However, delays caused by chronic discovery violations of the type seen in
   this case are not excludable. Shulick, 994 F.3d at 133; United States v. Hastings,
   847 F.2d 920, 922 (1st Cir. 1988) (affirming district court finding that delay




   9 Sixty-seven days is calculated from January 6, 2020 (the initial trial deadline)
   to March 13, 2020 (the day the Court entered A.O. 2020-18, which tolled all
   cases for the duration of the COVID-19 emergency.
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   caused by government’s chronic failure to comply with local rule’s automatic
   discovery production rules was not excludable).United States v. Anderson, 902
   F.2d 1105, 1109 (2d Cir. 1990) (analyzing whether discovery violations were
   chronic in deciding if delay caused by government discovery violations was
   excludable); United States v. Cianciola, 920 F.2d 1295, 1300 (6th Cir. 1990)
   (same). Though it need not be said, bad faith discovery violations that delay a
   trial are not excludable.
         In deciding what type of delay is caused by discovery violations, the district
   court must “distinguish between one-off or lesser discovery violations [from]
   those committed chronically or in bad faith.” Shulick, 994 F.3d at 133. Here, the
   timeline of the Government’s discovery productions clearly demonstrates chronic
   discovery violations. After the August 2019 hearing, the Government violated the
   Court’s May discovery deadline sixteen additional times. These violations were
   not one-offs or minor violations. They flowed directly from the Government’s
   decision to prematurely file its indictment before it was ready to try its case.
                               (a)   Example 1: FDA did not begin reviewing its own
                                     records for related emails until after the return
                                     of the indictment. Lack of diligence caused
                                     discovery violations.

         A tranche of the persistent and chronic discovery violations emanates from
   the Government’s production of FDA documents. This case began as an FDA
   investigation. Yet, the Government did not undertake a review of FDA documents
   related to the substances listed in the indictment until after the filing of the
   indictment (DE261:6). This is far from the model of diligent preparation. In a
   Southern District of Florida criminal prosecution, the default trial discovery
   deadline is fourteen days after arraignment. S.D. Local R. 88.10 (o)(2). A
   diligently prepared prosecutor cannot file a historical indictment in this District
   and then begin the search for the agency-related documents he intends to
   produce in discovery.
         The Government’s production of FDA documents demonstrates why—the
   unwarranted delay caused the Government to miss the May discovery deadline
                                      14
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   by four months. At the time of the August 12, 2019 hearing on the second motion
   for continuance—five months after the indictment was filed and four years after
   the investigation began—the FDA still had not reviewed documents authored by
   its own employees addressing the substances alleged in the indictment. Nor had
   it reviewed FDA documents addressing the Defendants and their products. The
   8,000 FDA documents related to this case should have been reviewed and
   analyzed before making a decision to file an indictment against the Defendants.
         To make matters worse, when it finally started the privilege review, it
   discovered “an October 2016 FDA document where a DEA chemist’s email
   described dimethazine’s legitimacy: “It is related in chemical structure to
   anabolic steroids controlled in Schedule III of the CSA, however, this specific
   substance is not listed or defined as a controlled substance.’” (DE261:6). Upon
   receipt, the Government waited until September 13, 2019 to produce the Brady
   document, and never asked anyone at DEA to electronically search for other
   similar emails until January 2020 (DE261:7). In fact, it did not interview the
   DEA chemist who authored the opinion until January 2020. In January 2020,
   the Government made several more Brady productions of DEA documents with
   similar opinions by a member of the Government’s own investigation team. And
   it did so after the Defendants’ pre-trial motion deadline.
         The second trial continuance was undoubtedly necessitated by the
   Government’s lack of diligent preparation. In fact, had the Court not granted the
   continuance, the January production of key Brady material documents would
   have been after the commencement of the January 2020 trial date.


                            (b)   Example 2: Government disregarded DOJ policies
                                  requiring it ask members of its investigative team
                                  for Brady Material. Consequence: Defendants did
                                  not receive Brady information from Terrence Boos
                                  until 10 months after return of indictment.

         Another example of the chronic discovery violations that caused the delay
   in trying the case on January 6, 2020, is the January 20, 2020 production of
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   control status letters authored by DOE Section Chief Terrence Boos stating that
   compounds at issue in this case were not controlled substances under the CSA.
   This egregious discovery violation flowed directly from the Government’s lack of
   diligent preparation. Mr. Boos had been a member of the Government
   investigation team since 2017, when Government counsel first asked him to
   opine on the control status of substances named in the indictment (DE261:9).
   Yet, the Government apparently never asked Mr. Boos, or anyone on his behalf,
   to perform an electronic search for conflicting opinions until January 2020
   (DE261:7), ten months after the Government filed its indictment.
         This incident illustrates the Government’s lack of diligence that
   necessitated a trial continuance in several ways. First, the United States DOJ
   Manual, Policy 9-5.001(B)(2) obliges “federal prosecutors, in preparing for trial,
   to seek all exculpatory and impeachment information from all the members of
   the prosecution team.” As a “participant[] in the investigation” into Blackstone,
   Mr. Boos was considered a member of the prosecution team. The Government
   never asked him to do that which is required by the DOJ. 10
         Second, and possibly more significant, the Government was on notice,
   since at least August 2019, of the existence of DEA documents opining that
   dimethazine was neither listed nor defined as a controlled substance under the
   CSA (DE261:6). Why it waited until January 2020 to secure the documents from
   the DEA is a mystery. From the Defendants’ point of view, the Government waited
   until after the pretrial motion deadline, as well as until after the 15-week period




   10 Both the timing and the substance of this January 2020 production
   underscores the Government’s lack of diligent preparation and prejudice to the
   Defendants. The discovery production included emails to and from the Assistant
   U.S. Attorney prosecuting this very case. It is tough to fathom a decision being
   made to pursue a test case of this magnitude without considering contrary DEA
   opinions given to members of the public, especially where the lead prosecutor
   had memorialized conversations with the author of the DEA opinions. Yet,
   because the Government prematurely filed its indictment, it produced key Brady
   material ten months after the filing of its indictment.
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   of TAR discovery review. 11 Had the Government diligently pursued the known
   existence of DEA opinions departing from its position on the controlled status of
   dimethazine, the Defendants could have had the documents long before
   expiration of the discovery deadline.
         The chronic and persistent violation of the Court’s discovery deadline is
   magnified by the Government’s failure to fully disclose at the August 2019
   hearing on the second continuance request that more evidence, including Brady
   and Giglio material, would be produced, because the Government had not
   completed its preparation for trial.
                               (c)   Example 3: Government failure to produce
                                     Justin Smith Brady material until May 2021.
                                     Government had documents since before the
                                     indictment’s return.

         A third and final example concerns the Government’s disclosure of
   unindicted co-conspirator Justin Smith’s proffer. Shortly after the Defendants
   hibernated data deemed not relevant to save money, the Government made yet
   another major discovery production to the Defendants. At the March 2, 2020
   hearing for sanctions, the Government erroneously represented that all new
   information was being “expeditiously” turned over to the defense, in recognition
   of its Brady obligations:
         [I]t was that affirmative process of us adopting with great vigor our
         constitutional obligations under Brady to go look for information that
         might, even might, be helpful to the defense. When we found that
         information, it was turned over expeditiously. (emphasis added) (177:4-
         8).

         Yet, a year later on May 31, 2021 (Production 19), the Government
   produced a November 21, 2019 factual proffer of unindicted co-conspirator




   11What is shocking is that had the case remained set for trial on January 6,
   2021, the Government production of this key Brady and Giglio evidence on
   January 24, 2020 would have been two weeks into the trial.
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   Justin Smith of Legendary Supplements. 12 The Government led Defendants to
   believe that Smith was not cooperating in this case. 13 Contained within Smith’s
   factual proffer are clear Brady materials that undermine the Government’s chief
   theory in Count I of the indictment: that the Defendants conspired to defraud
   the FDA from its lawful functions by hiding their conduct from the regulators.
   The factual proffer shows that it was Smith’s idea to form one of the
   “conspiracies” in this case for the purpose of not upsetting a manufacturer, and
   not for the purpose of hiding conduct from the Government as charged in Count I
   of the indictment. But a “conspiracy” to hide conduct from a manufacturer is not
   the type of illegal or proscribed conduct at issue in Count 1.
           Justin Smith is a significant government witness. Sales and shipments to
   Smith, which he resold through his business Legendary Supplements, comprise
   the entirety of the alleged illegal conduct for Counts 2,3,5, 6, and 7. Smith is
   additionally referenced (as Unindicted Coconspirator 3) in Count 4. Counts 2,3,
   and 5 predate any physical evidence collected by the government in this
   prosecution. Smith is the only fact witness for these transactions. As the only
   government witness for multiple charges that lack physical evidence, Smith’s
   importance cannot be overstated. Thus, the withheld Brady material in the
   Smith Factual Proffer relates directly to refuting aspects of Count 1 (Conspiracy,
   18 U.S.C. § 371) as well as Charges 2 and 3 (Introduction of Unapproved New
   Drugs into Interstate Commerce, 21 U.S.C. §§ 331(d), 355(a), and 333(a)(2)).
   Under “Purpose of the Conspiracy” the government includes “distributing these
   illegal products without detection and regulatory oversight by the FDA.” (DE1:8,
   ¶ 3).
           Interactions with Smith are the epicenter of the indictment. Yet, when he
   signed a Factual Proffer, which contained Brady material (both exculpatory and




   12Now indicted in Case 9:20-cr-80048-WPD.
   13See Letter of Mr. Frank to Defense Counsel dated [April 25]. (“ “). Attached as
   Exhibit “2”.
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   impeachment evidence), the government withheld the document for eighteen (18)
   months. As such, the latest set of Brady materials from Smith will require the
   Defense to manually re-review a minimum of 342,406 documents for
   responsiveness. The Government sat on these documents until it obtained a plea
   agreement from Smith, despite representing to the Defendants that he was an
   unindicted co-conspirator. Additionally, the Government assured this Court of
   the vigor with which they had adopted their constitutional Brady obligations
   (supra), while simultaneously withholding the Justin Smith Factual Proffer,
   signed four months prior.
         The Court rightfully continued the case, but the Speedy Trial Act did not
   authorize an exclusion of time. The second continuance resulted solely from the
   government’s lack of diligent preparation—a consequence of its decision to
   prematurely file the instant indictment.
         B.    The dismissal should be with prejudice.

         The decision to dismiss the case with or without prejudice requires a
   discussion of Defendants’ efforts to prepare this document intensive case for trial
   using technology assisted review (TAR). Technology assisted review of data is a
   distinct process from the traditional form or reviewing Government discovery in
   federal cases. In a traditional case, the lawyer would review each piece of
   discovery, summarize it, and develop a running list of potential defense theories
   as the documents were reviewed and analyzed. In such a case, the rolling
   production of untimely discovery by the Government is not as harmful for the
   simple reason that the order in which documents are reviewed is not critical to
   the development of the running list.
         In contrast, not every document can be reviewed in a document intensive
   case such as this. Technology assisted review vitally assists the legal team in
   identifying documents most likely to be relevant. As the legal team assigns
   relevancy scores to documents presented by the program, the program
   reassesses the relevance of the remaining millions of documents, pushing similar
   documents to the top of the list or to the bottom of the list, depending on how
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   the document is scored. An essential prerequisite to a technology assisted review
   of discovery is the production by the Government of a complete data set on which
   to run the data analytics. Where the indictment is historical, the Government
   must turn over all discovery, including Brady and Giglio material within its
   possession, the day it files its indictment. A Government failure to turn over a
   complete set of data prejudices a defendants’ discovery review, making the
   process substantially more expensive and extremely less accurate.
         Where there has been a Speedy Trial Act violation, the Court may dismiss
   the indictment with prejudice or without prejudice. United States v. Brown, 183
   F.3d 1306, 1309-10 (11th Cir. 1999). There is no preference for one type of
   dismissal over the other. Shiver v. United States, 619 F. App'x 864, 866 (11th
   Cir. 2015). “In determining whether to dismiss the case with or without
   prejudice, the court shall consider, among others, each of the following factors:
   the seriousness of the offense; the facts and circumstances of the case which led
   to the dismissal; and the impact of a reprosecution on the administration of this
   chapter and on the administration of justice.” United States v. Taylor, 487 U.S.
   326, 333, 108 S. Ct. 2413, 2417 (1988) (quoting 18 U.S.C. § 3162(a)(2)).
         As to the first factor. In one sense, all federal crimes are serious. But the
   Speedy Trial Act requires the Court to distinguish among severity. Here, the
   FDA’s treatment of other industry participants who received warning letters
   demonstrates the level of seriousness with which the FDA regards this case. The
   DOJ has selectively prosecuted the Defendants. At the same time other industry
   participants received warning letters, the Defendants were targeted with search
   warrants that raided their corporate headquarters and corporate bank accounts.
         The second factor considers “the facts and circumstances of the case
   which led to the dismissal.” Here, the Government decided to file its indictment
   for the express purpose of mooting Blackstone’s Rule 41(g) motion for return of
   property. Accordingly, Government was not complete with its investigation,
   much less prepared to make the required disclosures necessary for a trial that
   complied with the rules of criminal procedure, Brady, Giglio, and due process.
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   The timing of its filing decision was not in good faith. That lack of good faith
   caused the chronic discovery violations that delayed the trial. Even worse, had
   the Government met the Court’s May 2019 discovery deadline, the continuance
   for failure to provide discovery would not have been filed, the case would have
   been tried on January 6, 2020, and the trial would have been completed before
   the COVID-19 pandemic shut down the Federal Courts. The delay triggered by
   the Government’s lack of diligent preparation undoubtedly cost the Defendants
   time and an enormous amount of money.
         The third and final factor—the impact of a reprosecution on the
   administration of this chapter and on the administration of justice—weighs in
   favor of dismissal with prejudice. “[D]ismissal without prejudice can be viewed
   as frustrating the Act's mandate of swift prosecution since it would open the way
   to retrial after an even longer delay.” United States v. Russo, 741 F.2d 1264, 1267
   (11th Cir. 1984). This case has been delayed for two years because of
   circumstances set in motion by the Government’s attempt to secure a tactical
   advantage against Blackstone’s Rule 41(g) motion for return of property. Still,
   even if the Court found the lack of diligence unintentional, the Eleventh Circuit
   has explained that “the mere lack of improper motive is not a sufficient excuse
   for the delay.” Id. “Some affirmative justification must be demonstrated to
   warrant a dismissal without prejudice.” Id. The Government can provide no
   affirmative grounds justifying dismal without prejudice.
         Furthermore, reprosecution would reset the case in a manner that
   prejudices the Defendants. Consider the Justin Smith production of documents
   in May 2021 that were in the Government’s possession for a year and a half.
         The Defendants have employed an outside ESI expert to help them
   ascertain the damage done to the Defense preparations to date (Expert’s Report
   attached as Exhibit 1). The current estimates are, with existing funds, it will take
   a minimum of 42 weeks solely to re-review the 342,406 documents the Defense
   has identified as being relevant for trial for responsiveness in light of the most
   recent Brady production. This does not include the time needed to identify and
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   segregate these documents for trial, nor to update the Defendants’ predicative
   coding model and conduct a re-review.
         Not to be forgotten is the costs of rerunning the data through Relatively.
   Relativity’s vendor (Kroll Discoveries) has informed the Defendants that it will
   cost $3,240.46 simply to un-hibernate the data set from nearline hosting. Un-
   hibernation will double the Defendants’ monthly storage costs going forward
   (from $4.50 / GB to $9.00 / GB). The Defendants cannot update and revise their
   predictive coding model without un-hibernating and re-activating the data set,
   causing cascading problems in the Defendants ability to prepare for trial.
         In short, a reprosecution would effectively require the Defendants expend
   at least another one million dollars rerunning the data analytics on late discovery
   as well as what undoubtedly will be future discovery productions from the
   government. Given the chronic discovery violations, which undoubtedly flow
   from the Government’s bad faith attempt to defeat the Rule 41(g) motion by filing
   the indictment, the case should be dismissed with prejudice.
         The discovery issues in this case mirror those of United States v. Graham,
   2008 WL 2098044, at *2-3 (S.D. Ohio May 16, 2008). In Graham, the Court found
   the sheer volume of data turned over by the government, combined with the
   government’s erratic and unmanageable method of turning over material
   prejudiced the defendants, requiring dismissal of the indictment under the
   Speedy Trial Act, 18 U.S.C. § 3161. Id at *8. The Court noted:
         One, the volume of discovery in this case quite simply has been
         unmanageable for defense counsel. 14 Two, like a restless volcano,
         the government periodically spews forth new discovery, which adds
         to defense counsels already monumental due diligence
         responsibilities. Three, the discovery itself has often been tainted or
         incomplete. For example, during oral argument, counsel for
         Defendants stated that computer hard drives produced by the
         government were riddled with bugs and viruses and that tape


   14Early in the case, the Government informed the Court of the large volume and
   their plans to make additional productions in their first motion to designate the
   case complex and continue trial. See D.E. 94.
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         recordings and transcriptions were missing or incomplete. Indeed,
         it appears that these issues may require yet another continuance of
         the trial if the indictment is not dismissed.

   Id. (internal citations omitted). In dismissing the case, the court noted that
   although the government did not act in bad faith, “discovery could have and
   should have been handled differently.” Id. at 8; but see United States v. Qadri,
   No. 06-00469, 2010 WL 933752 (D. Haw. Mar. 9, 2010) (denying motion to
   dismiss on speedy trial grounds, despite finding that the delays were due at least
   in part to the nature of e-discovery, the complex nature of the alleged crimes,
   and the necessity of several coordinating branches of government in the
   investigation).
         Here, whether the Government has acted in bad faith or not is irrelevant.
   It informed the Court and the Defendants, on multiple occasions in 2019, that
   most of the discovery had been, or was nearly completed, when it was not. The
   Speedy Trial Act violation is clear. The Court has employed a number of
   increasingly severe remedies to this problem. Dismissal is the only remedy in the
   face of such a presumptively prejudicial delay.
         C.     Defendants’ Prior Waivers Do Not Cure the Violation

         To the extent the Government erroneously relies on the Defendants’
   previous waiver of the Speedy Trial Act, the argument is a nonstarter. If the Act
   were designed solely to protect a Defendant’s right to a speedy trial, it would
   follow that if the Defendants were to waive the application of the Act, the inquiry
   would end. See Zedner v. United States, 547 U.S. 489, 500-01 (2006). But the
   Act was designed with the public interest firmly in mind. Id. (quoting 18 U.S.C.
   3161(h)(8)(A) (“[t]o exclude delay resulting from a continuance-even one ‘granted
   ... at the request of the defendant’ the district court must find “that the ends of




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   justice served ... outweigh the best interest of the public and the defendant in
   a speedy trial”). 15
          Moreover, any waiver of Speedy Trial rights was in reliance on the
   Governments’ repeated representations to the Court, and to Defendants, that
   discovery was complete or nearly completed. Defendants spent one million
   dollars and thousands of labor hours reviewing documents to prepare this case
   for trial. Thus, irrespective of any prior waivers, the requests for Defense
   charged continuances were based on the Government being forthcoming with
   its open file practice.


                                     CONCLUSION

          For these reasons, the Court should dismiss the indictment with prejudice.


                                          Respectfully submitted,

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          15 Whether a district court presumes waiver or exacts a waiver from the
   defendant is a distinction without difference. United States v. Young, 674 F. App’x
   855, 858–59 (11th Cir. 2016). Both practices circumvent the strict procedural
   requirements to be undertaken under the Act. Id. (citing 18 U.S.C. § 3161(h)).
   And, in so doing, both practices disserve the interest of the public in efficient
   justice. Id. (citing Barker, 407 U.S. at 526–28, 92 S.Ct. 2182 (“reject[ing] ... the
   rule that a defendant who fails to demand a speedy trial forever waives his right”
   because it, in part, disserves “society[’s] ... particular interest in bringing swift
   prosecutions.”). If a defendant were empowered to waive the trial deadline it
   would vitiate the protections afforded society by speedy justice, which includes
   lessening the opportunity for recidivism during pretrial release and preserving
   “the deterrent effect of punishment.” United States v. Young, 674 F. App'x 855,
   858 (11th Cir. 2016)(quoting Zedner, 547 U.S. at 501, 502, 126 S.Ct. 1976).
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                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 1, 2021, I electronically filed the
   foregoing document with the Clerk of Court using CM/ECF and that the
   foregoing document is being served this day on all counsel of record or pro se
   parties, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who
   are not authorized to receive electronically Notices of Electronic Filing.

                                   By:   /s/ Benedict P. Kuehne
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